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». Case 3:18-cv-00296-LRH-CLB Document 151 Filed 03/19/20 Page 1 of 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 Robert D. Mitchell (admitted pro hac vice)
illiam M. Fischbach III (admitted pro hac vice) J
2 | Jason C. Kolbe, Nevada Bar No. 11624 : cmcmecn
> EIVED
3 | K vin S. Soderstrom, Nevada Bar No. 10235 AZ PATERED — ORME ON
TIFFANY & BOSCO COUNSEUPARTIES OF RECORD

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101 Counsel for Defendant/Counterclaimant Martin Tripp
11 UNITED STATES DISTRICT COURT
12 DISTRICT OF NEVADA
13
Case No. 3:18-cv-00296-LRH-CBC
14|| TESLA, INC., a Delaware corporation,
1 a ORDER GRANTING MOTION TO
5 Plaintiff,
WITHDRAW FLETCHER R.

16 CARPENTER AS COUNSEL OF
7 vs RECORD AND APPROVE CHANGE OF

MARTIN TRIPP, an individual, COUNSEL OF RECORD WITHIN LAW
18 FIRM
19 Defendant.
20 eyes

MARTIN TRIPP, an individual,
21

Counterclaimant,

22
33 | VS:
24 || TESLA, INC., a Delaware corporation,
25
26 | Counterdefendant.
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In consideration of the Motion to Withdraw Fletcher R. Carpenter as Counsel of

Record and Approve Change of Counsel of Record Within Law Firm (the “Motion”) and

good cause appearing,

IT IS ORDERED granting the Motion.
IT IS FURTHER ORDERED that Fletcher R. Carpenter is hereby withdrawn as

counsel for Defendant/Counterclaimant Martin Tripp in this matter.

 

 

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UNITEP STATES MAGISTRATE JUDGE

Dated: SIA [20

 
